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January 18, 2022

BY ECF

The Honorable Brian M. Cogan
U.S. District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re:    Force, et al. v. Qatar Charity, et al., 20-cv-02578-BMC

Dear Judge Cogan:

In advance of its Motion to Dismiss (due January 31, 2022), Counsel for Qatar Charity writes
pursuant to Rule III.A of Your Honor’s Individual Practices to request a pre-motion conference.
Per the Scheduling Orders entered today, an initial status conference and a pre-motion conference
concerning the forthcoming motions to dismiss by Masraf Al Rayan and Qatar National Bank
(together with Qatar Charity, the “Defendants”) are both scheduled for January 28, 2022.

Qatar Charity further requests, pursuant to Rule III.B.1 of Your Honor’s Individual Practices, 35
pages for its Motion to Dismiss. Qatar Charity submits that the additional pages are necessary due
to the number of legal issues presented by the 75-page, 407-paragraph Complaint. Plaintiffs have
not consented to expanded page limits and instead propose to file opposition briefs 30 days after
the close of jurisdictional discovery. Qatar Charity objects to jurisdictional discovery before
dispositive motions are addressed.

Background

Plaintiffs’ Complaint asserts four causes of action under the Anti-Terrorism Act (18 U.S.C. § 2331,
et seq.) (“ATA”) against Defendants, which are alleged to “have conspired to provide material
support” to terrorist organizations allegedly responsible for Plaintiffs’ injuries. While Qatar
Charity deplores the acts of violence described in the Complaint, the Complaint should be
dismissed as to Qatar Charity pursuant to Federal Rules of Civil Procedure 12(b)(2), 12(b)(5), and
12(b)(6) for reasons including, but not limited to, those discussed below.

The Complaint Is Legally Deficient and Should be Dismissed

(1)    Lack of Personal Jurisdiction. Plaintiffs’ sole basis for personal jurisdiction is U.S.
correspondent banking activity undertaken by a Qatari bank (Masraf Al Rayan) at which Qatar
Charity allegedly maintained an account in Doha. While some courts have found the use of a
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correspondent bank account sufficient for a finding of jurisdiction, they have done so only in the
case of bank defendants. Unlike defendants in many ATA cases, however, Qatar Charity is not a
bank; it is a bank customer—in this case, a customer seeking to send funds from one foreign
location to another, without particular concern for the mechanism by which these transfers were
accomplished. Judge Caproni recently observed that she was “[un]aware of any” authority—and
we believe there is none—standing for the principle that a non-domiciliary bank customer may be
subject to personal jurisdiction in New York “because the non-domiciliary moved money between
foreign bank accounts, with the transfer passing through New York via a correspondent account.”
Berdeaux v. One Coin Ltd., 2021 WL 4267693, at *12 (S.D.N.Y. Sept. 20, 2021) (Caproni, J.)
(collecting cases). She found that applying such a theory of jurisdiction to a banking customer
would be “nonsensical.” Id. at *12 n.25. “Plaintiffs have not alleged that [the defendant] directed
the use of a New York correspondent account, nor that the transfer of funds was otherwise
purposeful. Instead, Plaintiffs allege only that [the defendant] was aware that a New York account
would be used. That is patently insufficient under New York law to constitute the transaction of
business.” Id. at *12 (emphases added) (citations omitted). So too here. For this reason, among
others, Plaintiffs have not pled personal jurisdiction.

(2)     Failure to State a Claim. Plaintiffs cannot maintain causes of action against Qatar Charity
for violations of the ATA under either a primary or secondary liability theory. Primary liability
should be rejected because Plaintiffs have not plausibly alleged that Qatar Charity itself committed
an act of “international terrorism” which requires that Plaintiffs plausibly plead that Qatar Charity
was directly involved, by its own actions, in “violent acts or acts dangerous to human life” that
“appear to be intended to intimidate or coerce a civilian population” or “influence the policy of a
government by intimidation.” 18 U.S.C. § 2331(1); see also Linde v. Arab Bank, PLC, 882 F.3d
314, 326 (2d. Cir. 2018). Qatar Charity’s conduct as alleged in the Complaint, which primarily
amounts to the provision of funding for charitable and humanitarian works, does not constitute
acts of international terrorism by this standard. See Kaplan v. Lebanese Canadian Bank, 405 F.
Supp. 3d 525, 532 (S.D.N.Y. 2019) (“There is no dispute that Defendant did not itself perpetrate
the rocket attacks that injured Plaintiffs… [E]ven assuming, arguendo, that Defendant was aware
that it was providing such services to Hizbollah affiliates . . . [that] does not, in itself, equate to
international terrorism. Plaintiffs must plausibly allege that Defendant’s own actions” involve
violence or endanger human life and appear to be intended to intimidate or coerce a civilian
population or to influence or affect a government.) (quoting Linde, 882 F.3d at 326) (emphasis in
original), vacated on other grounds, 999 F.3d 842 (2d Cir. 2021).

Moreover, Qatar Charity’s alleged conduct cannot be said to have any plausible connection to the
Plaintiffs’ injuries. The Complaint fails to establish “a sufficiently direct relationship between the
conduct in question and the injuries for which recovery is sought,” and hence fails to plead
proximate causation. See Zapata v. HSBC Holdings PLC, 414 F.Supp.3d 342, 356 (E.D.N.Y.
2019).

Nor can Plaintiffs here plausibly allege secondary liability claims under either a conspiracy or an
aiding-and-abetting theory, because they fail to allege, in a non-conclusory way, that Qatar Charity
aided or abetted, “by knowingly providing substantial assistance,” the alleged acts of international
terrorism or “conspire[d] with the person who committed” the alleged act that caused Plaintiffs’
injuries. 18 U.S.C. § 2333(d)(2); see also Honickman v. BLOM Bank SAL, 6 F.4th 487, 501 (2d
Cir. 2021) (dismissing claim “because the allegations do not support an inference that BLOM Bank
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was aware of the Three Customers’ ties with Hamas prior to the relevant attacks”). For liability
to attach, the defendant must assist the principal violation—that is, an “act of international
terrorism”—and must be “integral” to, or play a “major part in prompting,” the act of international
terrorism that caused Plaintiffs’ injuries. Linde, 882 F.3d at 331; Halberstam v. Welch, 705 F.2d
472, 484 (D.C. Cir. 1983). For many reasons, Plaintiffs cannot possibly carry this burden. This
is particularly so given the concession here that the “front organizations” with which Qatar Charity
allegedly collaborated on charitable projects in fact performed charitable work, notwithstanding
the allegation that they had allegedly been coopted by the terrorist organizations. (See ECF No. 1
¶¶ 4, 72, 128). As the Second Circuit clarified in affirming Honickman, “the relevant inquiry for
the general awareness element” is whether the intermediate or affiliated entities who received
funds from the defendant (here, presumably, the unnamed front organizations) “were so closely
intertwined with the [FTO’s] violent terrorist activities that one can reasonably infer that [the
defendant] was generally aware . . . that it was playing a role in unlawful activities from which
[the FTO’s] attacks were foreseeable”? Honickman, 6 F.4th at 499 (emphasis added). The
conclusory allegations here plainly do not come close to supporting any such inference.

(3)     Insufficiency of Service of Process. On September 17, 2020, the Court granted Plaintiffs’
Ex Parte Motion for Issuance of Letters Rogatory to serve Qatar Charity (as well as the other
Defendants). (ECF No. 18). However, such service has not yet occurred. Instead, more than a
year after conceding that this form of service was appropriate, in December 2021, Plaintiffs
abandoned that approach, requesting instead that the clerk mail service of process to Qatar Charity
pursuant to Fed. R. Civ. P. 4(f)(2)(C)(ii). (ECF No. 44). An Amended Summons and Complaint
was purportedly delivered via Federal Express to Qatar Charity on December 20, 2022. (ECF No.
44). Service via Federal Express, even where successful, is not proper for entities based in Qatar
(as Qatar Charity is) because, as Plaintiffs themselves stated: Qatar “is not a signatory to the Hague
Convention … or any other service treaty.” (ECF No. 16 at 3). Plaintiffs cannot establish that
service by private courier is permitted under the law in Qatar or that a person authorized to accept
service signed for the delivery. Significantly, Plaintiffs have already conceded that from the
perspective of a Qatari court applying Qatari law, “the method of service most likely to be accepted
is service by letters rogatory.” (Perles Decl., ECF No. 17, ¶ 7; cf. Plaintiffs’ Memorandum in
Support, ECF No. 16 at p. 3 (for judgment to be enforceable in Qatar, “service must be effected in
Qatar pursuant to letters rogatory”)).

(4)    Failure to Demonstrate Statutory Standing. Qatar Charity adopts the argument set forth
by counsel for Masraf Al Rayan regarding Plaintiffs’ lack of statutory standing under the ATA and
JASTA. (ECF No. 51 at 3) (“Additionally, at least sixteen Plaintiffs lack statutory standing…”).

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In addition to the foregoing, we hereby reserve the right to adopt and incorporate arguments made
by Masraf Al Rayan and Qatar National Bank in their respective pre-motion letters. (ECF Nos. 51,
52).
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Respectfully submitted,

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